
USCA1 Opinion

	











                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 97-1084

                              UNITED STATES OF AMERICA,

                                      Appellant,

                                          v.

                            LUI KIN-HONG, a/k/a JERRY LUI,

                                      Appellee.


                                     ERRATA SHEET
                                     ERRATA SHEET



            The opinion of the court is corrected as follows:

            On p.10, l.18-19, replace "132 Cong. Rec. S9251 (1986)" with "132
        Cong. Rec. 16,819 (1986)"

            On p.10, n.6, replace "132 Cong. Rec. S9119 (1986)" with "132
        Cong. Rec. 16,598 (1986)"

            On p.11, l.12, replace "143 Cong. Rec. S1846 (1997)" with "143
        Cong. Rec. S1846 (daily ed. Mar. 3, 1997)" 






































                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 97-1084

                              UNITED STATES OF AMERICA,

                                      Appellant,

                                          v.

                            LUI KIN-HONG, a/k/a JERRY LUI,

                                      Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Joseph L. Tauro, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge, 
                                        _____________
                           Aldrich, Senior Circuit Judge, 
                                    ____________________
                              and Lynch, Circuit Judge.
                                         _____________
                                 ___________________

            Alex Whiting, Assistant  United States Attorney, with whom  Donald
            ____________                                                ______
        K.  Stern,   United  States  Attorney,  and   Susan  Hanson-Philbrick,
        _________                                     _______________________
        Assistant United States Attorney were on brief, for the United States.
            Andrew  Good, with  whom Harvey  A. Silverglate and  Silverglate &amp;
            ____________             ______________________      _____________
        Good were on brief, for appellee.
        ____
            Michael Posner and John Reinstein  on brief for Lawyer's Committee
            ______________     ______________
        for Human Rights  and American Civil Liberties Union of Massachusetts,
        amici curiae in support of appellee.
                                 ____________________

                                    March 20, 1997
                                 ____________________





















                      LYNCH, Circuit Judge.   The United States  District
                      LYNCH, Circuit Judge
                             _____________

            Court granted  a  writ  of  habeas  corpus  to  Lui  Kin-Hong

            ("Lui"),  who  sought  the  writ  after  a  magistrate  judge

            certified  to the  Secretary of  State that  she may,  in her

            discretion, surrender Lui for extradition to the Crown Colony

            of Hong Kong.   The United Kingdom,  on behalf of Hong  Kong,

            had  sought Lui's extradition on a warrant for his arrest for

            the crime of bribery.   Lui's petition for habeas  corpus was

            premised on the fact that  the reversion of Hong Kong to  the

            People's Republic of China  will take place on July  1, 1997,

            and it  will be impossible for the Crown Colony to try and to

            punish Lui before that date.  The United States  appeals.  We

            reverse  the order of the district court granting the writ of

            habeas corpus.

                      The  United States  argues that  Lui is  within the

            literal terms of the  extradition treaties between the United

            States and the United  Kingdom, that the courts may  not vary

            from the language of the treaties, and that the certification

            must issue.   Lui argues  that the language  of the  treaties

            does  not permit  extradition,  an argument  which is  surely

            wrong.   Lui's more serious  argument is that  the Senate, in

            approving the treaties, did not mean to permit extradition of

            someone to  be tried and  punished by a  government different

            from the  government which has  given its  assurances in  the

            treaties.  



















                      Lui  does not  claim that  he faces  prosecution in

            Hong Kong on  account of his race, religion,  nationality, or

            political opinion.   He does not  claim to be charged  with a

            political offense.   The treaties give  the courts a  greater

            role  when  such considerations  are  present.   Here,  Lui's

            posture is that of  one charged with an ordinary crime.   His

            claim is  that  to surrender  him  now to  Hong  Kong is,  in

            effect, to send him  to trial and punishment in  the People's

            Republic of  China.  The  Senate, in approving  the treaties,

            could  not have intended such a result, he argues, and so the

            court should interpret the  treaties as being inapplicable to

            his case.  Absent a treaty permitting extradition, he argues,

            he may not be extradited.

                      While Lis it persuasive.  The Senate was well aware

            of the reversion when it approved a supplementary treaty with

            the United Kingdom  in 1986.   The Senate  could easily  have

            sought language to address  the reversion of Hong Kong  if it

            were  concerned,  but  did not  do  so.    The President  has

            recently executed  a new treaty with  the incoming government

            of  Hong Kong, containing the same guarantees that Lui points

            to  in  the  earlier  treaties,  and  that  treaty  has  been

            submitted  to the  Senate.  In  addition, governments  of our

            treaty partners often change, sometimes by  ballot, sometimes

            by revolution  or other means,  and the  possibility or  even

            certainty of  such change  does not itself  excuse compliance



                                         -4-
                                          4















            with  the  terms of  the agreement  embodied in  the treaties

            between the countries.  Treaties contain  reciprocal benefits

            and  obligations.    The  United  States  benefits  from  the

            treaties  at   issue  and,   under  their  terms,   may  seek

            extradition  to the date of  reversion of those  it wants for

            criminal offenses.

                      Fundamental  principles  in our  American democracy

            limit the role of courts in certain matters, out of deference

            to the  powers allocated by the Constitution to the President

            and to the  Senate, particularly  in the  conduct of  foreign

            relations.   Those  separation  of  powers  principles,  well

            rehearsed in extradition law,  preclude us from rewriting the

            treaties which  the President  and the Senate  have approved.

            The  plain language  of the  treaties does  not support  Lui.

            Under the treaties  as written,  the courts may  not, on  the

            basis of the  reversion, avoid certifying to the Secretary of

            State  that Lui may be  extradited.  The  decision whether to

            surrender  Lui,  in  light  of  his  arguments,  is  for  the

            Secretary of State to make.

                      This is not to say American courts acting under the

            writ of habeas corpus, itself guaranteed in the Constitution,

            have no independent  role.  There  is the ultimate  safeguard

            that  extradition  proceedings  before  United  States courts

            comport  with the Due Process Clause of the Constitution.  On

            the facg presenting a  serious constitutional issue of denial



                                         -5-
                                          5















            of due process.  Some future case may, on  facts amounting to

            a  violation of  constitutional guarantees,  warrant judicial

            intervention.  This case does not.



                                          I.

                      We repeat  the facts essentially as  we stated them

            in  our earlier opinion.   United States v.  Lui Kin-Hong, 83
                                       _____________     ____________

            F.3d 523 (1st Cir. 1996) (reversing district court's decision

            to release Lui on bail).

                      Lui  is charged  in  Hong Kong  with conspiring  to

            receive and receiving over US $3 million in bribes from Giant

            Island  Ltd. ("GIL")  or GIL's  subsidiary, Wing  Wah Company

            ("WWC").    Lui, formerly  a senior  officer  of the  Brown &amp;

            Williamson  Co., was  "seconded"  in 1990  to its  affiliated

            company, the  British American  Tobacco Co. (Hong  Kong) Ltd.

            ("BAT-HK"), where he became Director of Exports in 1992.  The

            charges  result  from  an  investigation  by  the  Hong  Kong

            Independent Commission Against Corruption ("ICAC").  The Hong

            Kong authorities charge  that GIL  and WWC,  to which  BAT-HK

            distributed  cigarettes, paid  bribes  in excess  of HK  $100

            million  (approximately US $14 to $15 million) to a series of

            BAT-HK executives, including Lui.   The bribes were allegedly

            given in exchange  for a  virtual monopoly on  the export  of

            certain  brands of  cigarettes  to the  People's Republic  of

            China  ("PRC")   and  to   Taiwan.    Among   the  cigarettes



                                         -6-
                                          6















            distributed  were the  popular Brown  &amp; Williamson  brands of

            Kent,  Viceroy,  and  Lucky  Strike.   GIL  purchased  three-

            quarters  of a  billion dollars  in cigarettes  from 1991  to

            1994, mostly from BAT-HK.

                       A  former GIL  shareholder, Chui  To-Yan ("Chui"),

            cooperated  with the authorities and, it  is said, would have

            provided evidence  of Lui's  acceptance of  bribes.  Some  of

            Lui's alleged co-conspirators attempted to dissuade Chui from

            cooperating.     Chui  was   later  abducted,  tortured,  and

            murdered.  The ICAC  claims that the murder was  committed to

            stop Chui from testifying.  Lui  is not charged in the murder

            conspiracy.    Lui  was  in the  Philippines  (which  has  no

            extradition treaty with  Hong Kong) on  a business trip  when

            the Hong  Kong authorities unsuccessfully sought  to question

            him in April  1994.  Lui has not returned  to Hong Kong since

            then. 

                      At the request of the United Kingdom ("UK"), acting

            on behalf of Hong  Kong, United States marshals arrested  Lui

            as  he got off a plane at  Boston's Logan Airport on December

            20, 1995.  The arrest was for the  purpose of extraditing Lui

            to Hong Kong.1   The  government asked that  Lui be  detained

            pending  completion  of  the  extradition proceedings.    The



                                
            ____________________

            1.  The most recent warrant for Lui's arrest from the Hong
            Kong authorities is dated February 5, 1996; there were
            earlier warrants.

                                         -7-
                                          7















            magistrate judge, after a hearing, denied Lui's request to be

            released on bail.

                      The district court, on April 25, 1996, reversed the

            order  of the magistrate judge  and released Lui  on bail and

            conditions.  Lui Kin-Hong v. United States, 926 F. Supp. 1180
                         ____________    _____________

            (D.  Mass. 1996).  The district court held that the reversion

            of Hong Kong to the PRC on July 1, 1997, raised complex legal

            issues  that  would  result  in  protracted  proceedings  and

            presented a "special circumstance" overriding the presumption

            against bail.  Id. at 1189.  That court also found that there
                           ___

            were conditions of release that would adequately ensure Lui's

            presence at future  proceedings.   Id. at 1196.   This  court
                                               ___

            reversed the district court and, on May 14, 1996, ordered Lui

            held pending the resolution  of the extradition certification

            issue.  Lui, 83 F.3d at 525.
                    ___

                      The magistrate judge commenced extradition hearings

            on  May 28, 1996.   Those proceedings,  during which evidence

            was  taken, lasted  three days.   The magistrate  judge found

            that  there  was  probable  cause  to believe  that  Lui  had

            violated Hong Kong law on  all but one of the charges  in the

            warrant.2   Magistrate Judge Karol,  pursuant to 18  U.S.C.  

            3184,    issued   a   careful   decision   certifying   Lui's

            extraditability on August 29, 1996.  In re Extradition of Lui
                                                 ________________________

                                
            ____________________

            2.  The magistrate judge found the government had not met its
            burden of showing probable cause as to Count 2, concerning a
            payment of HK $1,953,260 made on or about October 21, 1988.

                                         -8-
                                          8















            Kin-Hong  ("Lui Extradition"),  939  F. Supp.  934 (D.  Mass.
            ________    _______________

            1996).  On September  3, 1996, Lui filed an  amended petition

            for  a writ  of habeas  corpus, the  only avenue  by which  a

            fugitive sought for extradition  (a "relator") may attack the

            magistrate judge's decision,3 with the district court.

                      After  a  hearing,  the  district  court  issued  a

            memorandum and order  granting the writ  on January 7,  1997.

            Lui Kin-Hong v. United States ("Lui Habeas"), --- F. Supp. --
            ____________    _____________   __________

            -,   1997 WL  37477 (D.  Mass. Jan. 7,  1997).   The district

            court reasoned that, because  the Crown Colony could  not try

            Lui and punish him before the reversion date, the extradition

            treaty  between  the  United  States and  the  UK,  which  is

            applicable to Hong Kong, prohibited extradition.  Id. at ---,
                                                              ___

            *4-*5.   Because  no  extradition treaty  between the  United

            States and the new government of Hong Kong has been confirmed

            by the United States Senate, the district court reasoned, the

            magistrate    judge    lacked    jurisdiction   to    certify

            extraditability.  See id. at ---, *5-*11.  The district court
                              ___ ___

            denied the government's motion for reconsideration on January

            13,  1997.  This court then stayed the district court's order

            and expedited the present appeal.  



                                
            ____________________

            3.  Due to the limited function of an extradition proceeding,
            there is no direct appeal from a judicial officer's
            certification of extraditability.  See Collins v. Miller, 252
                                               ___ _______    ______
            U.S. 364, 369-70 (1920).  A habeas petition is therefore the
            only mechanism by which a relator may seek review.

                                         -9-
                                          9















                      At the time Lui was arrested  in Boston in December

            1995, more than eighteen months remained before the reversion

            of  Hong Kong  to  the PRC  on  July 1,  1997.   The  various

            proceedings in our court system have now occupied fifteen  of

            those months, as the magistrate judge and district judge have

            given careful consideration to the issues.

                                         II.

                      The extradition request  was made  pursuant to  the

            Extradition  Treaty  Between  the  Government  of the  United

            States of America and the Government of the United Kingdom of

            Great Britain and  Northern Ireland, June 8, 1972,  28 U.S.T.

            227 (the  "Treaty"), as  amended by the  Supplementary Treaty

            Between the Government  of the United  States of America  and

            the Government  of the  United Kingdom  of Great  Britain and

            Northern  Ireland, June  25,  1985, T.I.A.S.  No. 12050  (the

            "Supplementary  Treaty").4    The  original  Treaty was  made

            applicable to Hong Kong,  among other British territories, by

            an  exchange of  diplomatic notes  on October  21, 1976.   28

            U.S.T. at 238-41.5  The Supplementary Treaty is applicable to

                                
            ____________________

            4.  We refer to the Treaty and the Supplementary Treaty as
            "the Treaties."

            5.  By its terms, the Treaty applies to the UK, and, in
            addition, to "any territory for the international relations
            of which the United Kingdom is responsible and to which the
            Treaty shall have been extended by agreement between the
            Contracting Parties embodied in an Exchange of Notes." 
            Treaty, art. II(1)(a).  
                The Treaty permits either the UK or the United States,
            upon six months written notice, to terminate the application

                                         -10-
                                          10















            Hong  Kong by its terms.   Supplementary Treaty,  art. 6(a) &amp;

            Annex.

                      Hong Kong's status  as a Crown Colony  is coming to

            an end on July  1, 1997, when Hong Kong is to  be restored to

            the PRC.  The  impending reversion, at the expiration  of the

            UK's ninety-nine year leasehold,  was formally agreed upon by

            the UK and the PRC in 1984; the United States was not a party

            to this agreement.  See  Joint Declaration of the  Government
                                ___

            of the United Kingdom  of Great Britain and Northern  Ireland

            and the Government of  the People's Republic of China  on the

            Question  of Hong Kong,  Dec. 19, 1984,  ratified and entered

            into  force  May 27,  1985, T.S.  No.  26 (1985)  (the "Joint

            Declaration").  Under the terms of the Joint Declaration, the

            PRC  "declares" its  "basic  policies" with  respect to  Hong

            Kong.   Id.   art.  3.   The PRC  states that  it intends  to
                    ___

            establish  a  "Hong   Kong  Special  Administrative   Region"

            ("HKSAR"),  id. art. 3(1), which will enjoy a "high degree of
                        ___

            autonomy except  in foreign and  defence affairs."   Id. art.
                                                                 ___

            3(2).  In addition,  the PRC states that  the HKSAR "will  be

            vested  with . . . independent judicial power, including that

            of final adjudication" and that  the "laws currently in force

            in Hong  Kong will  remain  basically unchanged."   Id.  art.
                                                                ___

                                
            ____________________

            of the Treaty as to any territory to which the Treaty was
            extended under article II(1)(a).  Id. art II(2).  To date, to
                                              ___
            our knowledge, neither party has attempted to invoke this
            provision to terminate the application of the Treaty to Hong
            Kong.

                                         -11-
                                          11















            3(3).  These  "basic policies"  are, according  to the  Joint

            Declaration,  to "remain unchanged  for 50 years."   Id. art.
                                                                 ___

            3(12).

                      United   States   Senate   ratification    of   the

            Supplementary Treaty  occurred on  July 17, 1986,  well after

            the widely publicized signing of the Joint Declaration.   See
                                                                      ___

            132  Cong. Rec. 16,819 (1986).  Clearly, the Senate was aware

            of the  planned reversion when it  approved the applicability

            to Hong Kong of the Supplementary Treaty.6  The Supplementary

            Treaty does not  contain an  exception for  relators who  can

            show that their trial or punishment will occur after the date

            of reversion.   Indeed, the Supplementary  Treaty is entirely

            silent on the question of reversion.

                      The  United States  does  not  have an  extradition

            treaty  with the  PRC.   However, on  December 20,  1996, the

            United   States  signed  an   extradition  treaty   with  the

            government  of   the  nascent  HKSAR,   which  provides   for

            reciprocal post-reversion extradition.  See Agreement Between
                                                    ___

            the  Government  of  the United  States  of  America and  the

            Government  of  Hong  Kong  for  the  Surrender  of  Fugitive

            Offenders,  Dec. 20, 1996 (the "New Treaty").  The New Treaty

            will not enter into  force until the Senate gives  its advice


                                
            ____________________

            6.  See, e.g., 132 Cong. Rec. 16,598 (1986) (statement of
                ___  ____
            Sen. Hatch) (commenting on applicability of Supplementary
            Treaty to Hong Kong).


                                         -12-
                                          12















            and consent.   It was  submitted to  the Senate  on March  3,

            1997.  See 143 Cong. Rec. S1846 (daily ed. Mar. 3, 1997).
                   ___

            A.  United States Extradition Procedure  
                ___________________________________

                      In   the  United   States,   the   procedures   for

            extradition  are governed by statute.  See 18 U.S.C. ch. 209.
                                                   ___

            The statute  establishes a  two-step procedure  which divides

            responsibility  for extradition  between a  judicial officer7

            and  the Secretary of  State.  The  judicial officer's duties

            are set  out in  18 U.S.C.    3184.   In brief,  the judicial

            officer,  upon complaint,  issues  an arrest  warrant for  an

            individual sought for extradition,  provided that there is an

            extradition treaty between the United States and the relevant

            foreign government  and that the crime charged  is covered by

            the  treaty.   See id.   If  a warrant  issues, the  judicial
                           ___ ___

            officer then conducts a hearing to determine if "he deems the

            evidence   sufficient  to  sustain   the  charge   under  the

            provisions  of  the proper  treaty."   Id.   If  the judicial
                                                   ___

            officer makes such a determination, he "shall certify" to the
                                                    _____

            Secretary  of State that a  warrant for the  surrender of the

            relator "may  issue."   Id. (emphases added).   The  judicial
                     ___            ___

            officer is  also directed to  provide the Secretary  of State

            with  a   copy  of  the  testimony  and   evidence  from  the

            extradition hearing.  Id.   
                                  ___

                                
            ____________________

            7.  The judicial officer may be any federal judge, any
            authorized magistrate, or any state judge of a court of
            general jurisdiction.  See id.   3184.
                                   ___ ___

                                         -13-
                                          13















                      It  is then  within the  Secretary of  State's sole
                      

            discretion  to determine  whether or  not the  relator should

            actually be extradited.  See 18 U.S.C.   3186 ("The Secretary
                                     ___

            of  State  may order  the  person  committed under  section[]
                       ___

            3184 . . . of this  title to  be delivered to  any authorized

            agent of such  foreign government . . . .") (emphasis added).

            The  Secretary  has  the  authority to  review  the  judicial

            officer's findings  of fact and conclusions  of law de novo,8
                                                                __ ____

            and  to  reverse  the  judicial  officer's  certification  of

            extraditability   if   she   believes   that   it   was  made

            erroneously.9 See 4  Abbell &amp; Ristau,  International Judicial
                          ___                      ______________________

            Assistance:  Criminal -  Extradition    13-3-8(2),  at 266-69
            ____________________________________

            (1995); Note, Executive Discretion  in Extradition, 62 Colum.
                          ____________________________________

            L. Rev. 1313, 1316-25 (1962).  The Secretary may also decline

            to  surrender  the relator  on  any  number of  discretionary

            grounds,  including  but  not  limited  to, humanitarian  and


                                
            ____________________

            8.    While not required to by statute, the Department of
            State routinely accepts written submissions from relators in
            conjunction with its review of extraditability.  4 Abbell &amp;
            Ristau, International Judicial Assistance:  Criminal --
                    _______________________________________________
            Extradition,   13-3-8(5), at 274 (1995).
            ___________

            9.  Although at first glance, this procedure might appear to
            be of questionable constitutionality because it subjects
            judicial decisions to executive review, rendering them non-
            final, cf. Hayburn's Case, 2 U.S. (2 Dall.) 409 (1792), it
                   ___ ______________
            has been held that the judicial officer in an extradition
            proceeding "is not exercising 'any part of the judicial power
            of the United States,'" and instead is acting in "a non-
            institutional capacity."  United States v. Howard, 996 F.2d
                                      _____________    ______
            1320, 1325 (1st Cir. 1993) (quoting In re Kaine, 55 U.S. (14
                                                ___________
            How.) 103, 120 (1852)).

                                         -14-
                                          14















            foreign policy considerations.  See 4 Abbell &amp; Ristau, supra,
                                            ___                    _____

               13-3-8(3),   at   269-73;  II   Bassiouni,   International
                                                            _____________

            Extradition: United  States Law and  Practice 601-04  (1987).
            _____________________________________________

            Additionally,  the  Secretary may  attach  conditions to  the

            surrender  of the  relator.   See  Jimenez  v. United  States
                                          ___  _______     ______________

            District Court,  84  S.  Ct.  14, 19  (1963)  (Goldberg,  J.,
            ______________

            chambers  opinion) (denial  of stay)  (describing commitments

            made by Venezuelan government  to United States Department of

            State  as a condition of  surrender of fugitive);  4 Abbell &amp;

            Ristau, supra,    13-3-8(4), at 273-74;  II Bassiouni, supra,
                    _____                                          _____

            at 604.10  The State Department alone, and not the judiciary,

            has  the   power  to  attach   conditions  to  an   order  of

            extradition.   See,  e.g.,  Emami v.  United States  District
                           ___   ____   _____     _______________________

            Court,  834 F.2d  1444, 1453  (9th Cir.  1987); Demjanjuk  v.
            _____                                           _________

            Petrovsky, 776 F.2d 571, 584 (6th Cir. 1985).  Of course, the
            _________

            Secretary may also  elect to use diplomatic methods to obtain

            fair treatment for the  relator.  See, Note, supra,  at 1325-
                                              ___        _____

            26; cf. In re Normano, 7 F. Supp. 329, 329 (D. Mass. 1934).
                ___ _____________

                      Thus,  under  18  U.S.C.      3184,  the   judicial

            officer's  inquiry  is limited  to  a  narrow  set of  issues

            concerning the  existence of  a treaty, the  offense charged,

            and  the quantum of evidence offered.   The larger assessment

                                
            ____________________

            10.  The United States has, for example, imposed conditions
            as to the type of trial the relator would receive (e.g., in
                                                               ____
            civil, rather than martial law, court) and as to security
            arrangements for the relator.  4 Abbell &amp; Ristau, supra,  
                                                              _____
            13-3-8(4), at 273 n.1. 

                                         -15-
                                          15















            of  extradition  and its  consequences  is  committed to  the

            Secretary of State.      This  bifurcated procedure  reflects

            the fact  that extradition proceedings  contain legal  issues

            peculiarly  suited for judicial resolution, such as questions

            of the standard of proof,  competence of evidence, and treaty

            construction,  yet  simultaneously  implicate   questions  of

            foreign policy,  which are  better answered by  the executive

            branch.    Both institutional  competence rationales  and our

            constitutional structure, which places primary responsibility

            for  foreign  affairs in  the  executive  branch, see,  e.g.,
                                                              ___   ____

            United States  v. Curtiss-Wright Export Corp.,  299 U.S. 304,
            _____________     ___________________________

            319-22 (1936), support this division of labor. 

                      In    implementing    this    system    of    split

            responsibilities  for  extradition,  courts   have  developed

            principles  which  ensure,  among  other   things,  that  the

            judicial   inquiry  does   not  unnecessarily   impinge  upon

            executive  prerogative  and  expertise.    For  example,  the

            executive branch's  construction of  a  treaty, although  not

            binding upon the courts, is entitled to great weight.  Factor
                                                                   ______

            v.  Laubenheimer, 290 U.S. 276, 295 (1933); cf. United States
                ____________                            ___ _____________

            v. Howard, 996 F.2d 1320, 1330 n.6 (1st Cir. 1993) (deference
               ______

            to executive in extradition context stems, at least in  part,

            from  fact  that  executive  wrote  and negotiated  operative

            documents).  Another principle is that extradition  treaties,

            unlike criminal  statutes, are  to be construed  liberally in



                                         -16-
                                          16















            favor of enforcement  because they  are "in  the interest  of

            justice  and friendly international  relationships."  Factor,
                                                                  ______

            290 U.S.  at 298.   These principles of  construction require

            courts to:

                      interpret extradition treaties to produce
                      reciprocity between,  and expanded rights
                      on    behalf    of,   the    signatories:
                      "[Treaties] should be liberally construed
                      so as to effect the apparent intention of
                      the  parties  to   secure  equality   and
                      reciprocity  between  them.     For  that
                      reason, if  a treaty fairly admits of two
                      constructions, one restricting the rights
                      which may  be claimed  under it,  and the
                      other  enlarging  it,  the  more  liberal
                      construction is to be preferred."

            Howard, 996 F.2d at 1330-31 (quoting Factor, 290 U.S. at 293-
            ______                               ______

            94).

                      Another  principle that  guides  courts in  matters

            concerning extradition is the rule of non-inquiry.  More than

            just a  principle of  treaty construction, the  rule of  non-

            inquiry  tightly limits  the  appropriate  scope of  judicial

            analysis  in an  extradition proceeding.   Under the  rule of

            non-inquiry, courts refrain from "investigating  the fairness

            of a  requesting nation's justice  system," id. at  1329, and
                                                        ___

            from inquiring "into the  procedures or treatment which await

            a   surrendered   fugitive   in   the   requesting  country."

            Arnbjornsdottir-Mendler v. United States,  721 F.2d 679,  683
            _______________________    _____________

            (9th Cir. 1983).   The rule of non-inquiry,  like extradition

            procedures   generally,   is   shaped   by   concerns   about

            institutional  competence  and by  notions  of  separation of


                                         -17-
                                          17















            powers.   See United States  v. Smyth, 61 F.3d  711, 714 (9th
                      ___ _____________     _____

            Cir. 1995).11  It is not that questions about what awaits the

            relator  in   the  requesting  country   are  irrelevant   to

            extradition;  it   is  that   there  is  another   branch  of

            government, which  has both final say  and greater discretion

            in  these  proceedings,  to  whom these  questions  are  more

            properly addressed.12

                                
            ____________________

            11.  One commentator has analogized the rule of non-inquiry
            to the "act of state" doctrine, which prohibits United States
            courts from judging the governmental acts of a foreign
            country performed within its own territory.  See Semmelman,
                                                         ___
            Federal Courts, The Constitution, and The Rule of Non-Inquiry
            _____________________________________________________________
            in International Extradition Proceedings, 76 Cornell L. Rev.
            ________________________________________
            1198 (1991).  The "act of state" doctrine, the Supreme Court
            has said, "arises out of the basic relationships between
            branches of government in a system of separation of powers. 
            It concerns the competency of dissimilar institutions to make
            and implement particular kinds of decisions in the area of
            international relations."  Banco Nacional de Cuba v.
                                       ______________________
            Sabbatino, 376 U.S. 398, 423 (1964).  This court has doubted,
            _________
            in dicta, that the rule of non-inquiry is constitutionally
            mandated.  Howard, 996 F.2d at 1330 n.6.  Whether the
                       ______
            doctrine is constitutionally mandated is immaterial here.

            12.  Nor is it true, as Lui suggests, that the rule of non-
            inquiry is only appropriate where the existence of a treaty
            reflects a substantive judgment about the fairness of another
            nation's procedures.  The United States has maintained, over
            time, extradition treaties with some of the world's most
            oppressive and arbitrary regimes.  See 18 U.S.C.   3181
                                               ___
            (listing treaties of extradition and dates entered into). 
            The rule of non-inquiry expresses no judgment about a foreign
                                              __
            nation's ability and willingness to provide justice; it
            simply defers that assessment to the second part of every
            extradition proceeding -- review of extraditability and
            determination of the appropriateness of surrender by the
            Secretary of State.  Indeed, a leading commentator, in
            discussing the scope of the Secretary's discretion under 18
            U.S.C.   3186, has argued that it is precisely "because of
                                                            __________
            the rule of non-inquiry" that it is appropriate for the
            Secretary to exercise discretion on humanitarian grounds.  II
            Bassiouni, supra, at 602 (emphasis added).
                       _____

                                         -18-
                                          18















                      Lui contends  that, on July 1,  1997, the reversion

            of Hong Kong to the PRC will result in his being subjected to

            trial and punishment by a regime with which the United States

            has no extradition  treaty.  This  future event, Lui  argues,

            operates retroactively  to render his extradition illegal, as
                                                                       __

            of today,  because, he  says, extradition is  only legitimate
            ________

            where trial and punishment will be administered by the regime

            with which the United States has a treaty.  

                      Although Lui  is  correct that  the government  has

            conceded  that he will not  be tried before  reversion, it is

            also quite  possible that  the scenario he  depicts will  not

            arise.   The  new extradition  treaty with  the HKSAR  may be

            approved  by   the  United  States  Senate,   establishing  a

            continuity  of treaties  through and  beyond July  1, 1997.13

            The United States government may choose to extend the current

            Treaty by executive  agreement.14  To  the extent that  Lui's

                                
            ____________________

            13.  The government does not argue that, absent any other
            action and of their own accord, the Treaties would continue
            beyond reversion to apply to Hong Kong.  Accordingly, on the
            facts of this case, we find the discussion of the state
            succession doctrine in Terlinden v. Ames, 184 U.S. 270
                                   _________    ____
            (1902), a case heavily relied upon by the district court, see
                                                                      ___
            Lui Habeas, --- F. Supp. at ---, 1997 WL 37477, at *4-*5, to
            __________
            be of little assistance to Lui.  Of course, the discussion in
            Terlinden of the rule of non-inquiry is relevant, and
            _________
            supports our analysis.

            14.  It may be argued that this alternative infringes upon
            the Senate's prerogative, under the Treaty Clause, U.S.
            Const., art. II,   2, to give its advice and consent.  But it
            is hardly an appropriate judicial task to attempt to resolve
            a hypothetical and not ripe dispute between the legislature
            and the executive.

                                         -19-
                                          19















            argument depends on the fairness of the procedures he will be

            subjected to,  he asks this court to decide that the PRC will

            not adhere to the Joint Declaration  with the UK, in which it

            declared its  intention to maintain Hong  Kong's legal system

            for fifty years.

                      All  of these  questions involve  an evaluation  of

            contingent political events.  The Supreme Court has said that

            the indicia of a non-justiciable political question include: 

                      a  textually demonstrable  constitutional
                      commitment  of the issue  to a coordinate
                      political  department;  or   a  lack   of
                      judicially  discoverable  and  manageable
                      standards  for  resolving   it;  or   the
                      impossibility  of   deciding  without  an
                      initial  policy  determination of  a kind
                      clearly  for  nonjudicial discretion;  or
                      the    impossibility    of   a    court's
                      undertaking     independent    resolution
                      without  expressing  lack of  respect due
                      coordinate branches of government;  or an
                      unusual need  for unquestioning adherence
                      to a political decision already  made; or
                      the  potentiality  of embarrassment  from
                      multifarious  pronouncements  by  various
                      departments on one question.

            Baker v.  Carr, 369 U.S. 186,  217 (1962).  While  not all of
            _____     ____

            these ingredients  are present here, several  are.  Moreover,

            unlike  many "political questions,"  whose resolution, absent

            judicial  determination,  must  await  the  vagaries  of  the

            political  process, here  there is  a statutory  scheme which

            provides  for  the  resolution   of  these  questions  by  an

            identified  member of  the  executive branch.   The  case for





                                         -20-
                                          20















            judicial  resolution  is  thus  weaker than  with  many  such

            questions.

                      The   principles   of   reciprocity   and   liberal

            construction  also counsel against construing the Treaties so

            as to  prohibit Lui's  extradition.   Hong Kong,  through the

            United  Kingdom,  has  entered bilateral  treaties  with  the

            United  States.  The United  States has sought extradition of

            criminals  from  Hong  Kong in  the  past,  and  may wish  to

            continue to  do so up until  July 1, 1997.   If the executive

            chooses  to modify or abrogate the terms of the Treaties that

            it negotiated, it has ample discretion to do so.  However, if

            this court were to read a cut-off date vis-a-vis extraditions

            to  Hong Kong into the Treaties, it would risk depriving both

            parties of the benefit of their bargain.

                      None  of  these principles,  including non-inquiry,

            may be regarded as an absolute.  We, like the Second Circuit,

            "can imagine situations where the relator, upon  extradition,

            would be subject to  procedures or punishment so antipathetic

            to  a  federal  court's  sense  of   decency  as  to  require

            reexamination of the principle[s]"  discussed above.  Gallina
                                                                  _______

            v. Fraser,  278 F.2d 77, 79 (2d Cir. 1960).  This is not such
               ______

            a  case.    Lui  is  wanted  for  economic,  not   political,

            activities  whose  criminality  is  fully  recognized in  the

            United States.  His extradition is sought by the current Hong
                                                             _______

            Kong regime, a colony of Great Britain, which, as Lui himself



                                         -21-
                                          21















            points  out,  is one  of this  country's most  trusted treaty

            partners.  Moreover, Lui  has been a fugitive from  Hong Kong

            since  1994.    He  has been  subject  to  extradition  since

            entering the United States in December 1995.  That now only a

            few months remain before the reversion of Hong Kong is partly

            attributable to strategic choices made by Lui himself.  There

            is nothing here which shocks the conscience of this court.

            B.  The Treaties
                ____________

                      There  is   no   dispute  that   the   Treaty,   as

            supplemented  by the  Supplementary  Treaty, is  currently in

            effect and is applicable  to Hong Kong.  The  district court,

            in granting Lui's habeas petition, reasoned that "the Treaty,

            by its  own terms, does not allow the extradition of a person

            to Hong  Kong if the Crown  Colony of Hong Kong  is unable to

            try and to punish that person."   Lui Habeas, --- F. Supp. at
                                              __________

            ---, 1997 WL  37477, at *5.  The government counters that the

            terms of the Treaty clearly  allow Lui's extradition.   There

            is nothing in the  plain language of the Treaties  that would

            permit  the  construction made  by the  district court.   The

            principles discussed above argue persuasively against reading

            judicially created limitations into the Treaties' unambiguous

            text. 

            1.  Overview
                ________

                      We begin our analysis of the Treaties with  a brief

            overview of the Treaties' operative provisions.  Article I of



                                         -22-
                                          22















            the  Treaty  states the  basic reciprocal  compact, providing

            that:

                           Each Contracting Party undertakes to
                      extradite   to   the   other,    in   the
                      circumstances   and    subject   to   the
                      conditions specified in this  Treaty, any
                      person found  in  its territory  who  has
                      been  accused or convicted of any offense
                      within Article III, committed  within the
                      jurisdiction of the other Party.

            Treaty, art. I.

                      Article   III   contains  the   "dual  criminality"

            requirement, a  requirement that is "central   to extradition

            law and  [one that] has  been embodied  either explicitly  or

            implicitly  in  all prior  extradition  treaties  between the

            United States and Great Britain."  Brauch v. Raiche, 618 F.2d
                                               ______    ______

            843, 847 (1st  Cir. 1980).   Article III,  in relevant  part,

            provides that:

                           Extradition shall be granted  for an
                      act   or  omission  the  facts  of  which
                      disclose  an offense  within  any of  the
                      descriptions   listed  in   the  Schedule
                      annexed to this Treaty . . . or any other
                      offense,   if:   (a)   the   offense   is
                      punishable under the laws of both Parties
                      by   imprisonment   or   other  form   of
                      detention  for more than  one year  or by
                      the death penalty . . . .

            Treaty, art. III(1).   The annexed Schedule lists twenty-nine

            general crimes, including bribery, the crime of which Lui  is

            accused.  See Treaty, Schedule, No. 23.  
                      ___

                      Article  V  contains various  affirmative defenses,

            including the  "political offense"  exception.  As  a general



                                         -23-
                                          23















            matter, the  political offense  exception "is now  a standard

            clause in almost all  extradition treaties of the world."   I

            Bassiouni, supra, at 384.  The political offense exception in
                       _____

            the Treaty  prohibits extradition where "(i)  the offense for

            which extradition  is requested is regarded  by the requested

            Party as one  of a  political character; or  (ii) the  person

            sought proves  that the  request for  his extradition has  in

            fact  been  made with  a view  to try  or  punish him  for an

            offense of a political character."  Treaty, art. V(1)(c).

                      The Supplementary Treaty  narrows the  availability

            of this political  offense exception.   It lists  a range  of

            crimes -- all crimes  of violence -- that may not be regarded

            as  political  offenses  for   the  purpose  of  raising  the

            political offense exception.   See Supplementary Treaty, art.
                                           ___

            1.    The Supplementary  Treaty  also  offers an  affirmative

            defense to fugitives  sought for crimes  of violence who,  by

            virtue  of its article 1,  are unable to  raise the political

            offense exception.  See Supplementary Treaty, art. 3(a), (b).
                                ___

            Such a fugitive may block extradition by establishing:

                      by  a preponderance of  the evidence that
                      the request for  extradition has in  fact
                      been made  with a  view to try  or punish
                      him on  account  of his  race,  religion,
                      nationality,  or  political opinions,  or
                      that   he   would,  if   surrendered,  be
                      prejudiced  at  his  trial  or  punished,
                      detained  or  restricted in  his personal
                      liberty by reason  of his race, religion,
                      nationality or political opinions.

            Id. art. 3(a).
            ___


                                         -24-
                                          24















                      The procedural requisites of an extradition request

            are specified in article VII of the Treaty.  The request must

            be accompanied by, inter alia, a description of the fugitive,
                               _____ ____

            a statement of facts of the offense, and the text  of the law

            under which  he is charged.   See Treaty, art. VII  (2).  For
                                          ___

            accused  (as opposed  to  already  convicted) fugitives,  the

            request must also  include a valid  arrest warrant and  "such

            evidence  as, according to  the law  of the  requested Party,

            would justify his committal for trial if the offense had been

            committed in the territory  of the requested Party, including

            evidence  that the person requested is the person to whom the

            warrant of arrest refers."  Id. art. VII(3).15
                                        ___

                      Article XII contains the "specialty" requirement, a

            common feature  of extradition  treaties.  Specialty  has two

            basic components.   First, the  requesting state may  not try

            the fugitive for any crimes other than the specific crime for

            which  extradition  was  sought  and granted.    Second,  the

            requesting state may not re-extradite the fugitive to a third

            state.  See Treaty, art. XII. 
                    ___

            2.  Analysis
                ________

                      Both  the  district court  and  Lui  focus on  four

            Treaty   provisions   in  concluding   that  the   Treaty  is

            inapplicable to  Lui.  See  Lui Habeas, --- F.  Supp. at ---,
                                   ___  __________

                                
            ____________________

            15.  Article IX(1), in turn, states that extradition shall
            not be granted if the evidentiary showing required by article
            VII(3) is not made by the requesting party.

                                         -25-
                                          25















            1997  WL 37477,  at *5-*7.   We  address these  provisions in

            turn,  concluding that the obligation of the United States to

            extradite Lui, specified in  article I of the Treaty,  is not

            undermined  by any of these provisions.  We base our analysis

            on  the plain  language  of the  Treaty.   United  States  v.
                                                       ______________

            Alvarez-Machain, 504 U.S 655, 663 (1992); Sumitomo Shoji Am.,
            _______________                           ___________________

            Inc. v. Avagliano, 457 U.S. 176, 180 (1982).  Underlying this
            ____    _________

            analysis  is the court's awareness of the limited role of the

            judiciary in extradition proceedings. 

            The Warrant Requirement 
            _______________________

                      The   district   court   understood   the   warrant

            requirement  of  article  VII(3)  to  serve  the  purpose  of

            permitting "the requested sovereign  to know that the relator

            has been accused . . . pursuant to the laws of the requesting

            sovereign,  and  that  he  will  be  tried  and  punished  in

            accordance  with that sovereign's laws."   Lui Habeas, --- F.
                                                       __________

            Supp.  at  ---, 1997  WL 37477,  at *6.    In this  case, the

            district court  reasoned, since  Lui would  not  be tried  in

            accordance  with the  present  Hong Kong  regime's laws,  the

            warrant requirement was not met.  Id. 
                                              ___

                      There is nothing in the language of article VII(3),

            or  the rest of article VII, which indicates that the warrant

            requirement serves  the greater function attributed  to it by

            the district court.   Indeed, the warrant requirement appears

            to do nothing  more than to help the judicial  officer in the



                                         -26-
                                          26















            requested country to confirm  that there are in  fact charges

            properly  pending  against  the  relator  in   the  requested

            country, and that the relator  is actually the person sought.

            It does  not authorize  the investigation which  the district

            court  envisioned,   and  indeed  such  an  investigation  is

            foreclosed  by  the  rule  of  non-inquiry.    A warrant  was

            provided  by the Hong Kong authorities here, and Lui does not

            attack its validity or authenticity.  The warrant requirement

            was plainly satisfied.

            The Dual Criminality Requirement 
            ________________________________

                      The  district court  understood the purpose  of the

            dual criminality requirement, as stated in article III of the

            Treaty, to be  "to provide the  requested sovereign with  the

            opportunity to examine the  substantive law of the requesting

            sovereign in the context of the Treaty."  Lui Habeas,  --- F.
                                                      __________

            Supp. at  ---, 1997 WL 37477,  at *6.  The  court stated that

            the  requirement  serves  to  "underscore[]  the  expectation

            running through the Treaty that [Lui] is to be tried, judged,

            and punished in  accordance with the  laws of the  requesting

            sovereign."  Id.
                         ___

                      There  is nothing in the text of article III of the

            Treaty  that supports  this  sweeping conclusion.   The  dual

            criminality requirement, by its  plain terms, is satisfied if

            the  crime of  which the  relator is  accused appears  on the

            annexed Schedule  or is  punishable in  both countries by  at



                                         -27-
                                          27















            least  one year's  imprisonment.   Bribery,  as noted  above,

            appears on the annexed Schedule.  

                      The purpose of the dual criminality requirement  is

            simply to ensure that extradition is granted only for  crimes

            that are regarded as  serious in both countries.   See United
                                                               ___ ______

            States v. Saccoccia, 58  F.3d 754, 766 (1st Cir.  1995) ("The
            ______    _________

            principle  of dual  criminality dictates  that, as  a general

            rule, an extraditable offense must be a serious crime (rather

            than a mere peccadillo) punishable under the criminal laws of

            both   the  surrendering   and   the   requesting   state.");

            Restatement  (Third)  of the  Foreign  Relations  Law of  the
            _____________________________________________________________

            United States   476, cmt. d (1987); id.   475, cmt. c.
            _____________                       ___

                      The dual criminality requirement is satisfied here.

            The Political Offense Exception 
            _______________________________

                      The district  court also relied on  article 3(a) of

            the Supplementary  Treaty,  which, it  stated,  requires  the

            judicial officer  "to examine the reasons  for the requesting

            sovereign's  desire to try and  to punish the  relator."  Lui
                                                                      ___

            Habeas, --- F. Supp. at  ---, 1997 WL 37477, at *6.   In this
            ______

            case, stated  the district  court, article  3(a) "underscores

            again   the  Treaty's   requirement   and  expectation   that

            extradition  . .  .  may not  take  place if  the  requesting

            sovereign  .  . .  is unable  to try  and  punish Lui  in the

            relatively few days left before its reversion to China."  Id.
                                                                      ___





                                         -28-
                                          28















                      The  Supplementary Treaty  article 3(a)  defense is

            simply inapplicable here.  Supplementary Treaty  article 3(a)

            describes  a defense  which  is available  only to  fugitives

            charged with one of the crimes specified in article 1  of the

            Supplementary Treaty,  all of  which are crimes  of violence.

            Lui's  alleged crime -- bribery -- is  not  among the  crimes

            enumerated in the Supplementary Treaty's article 1.

                      Indeed,  the  very  purpose  of  the  Supplementary

            Treaty was to cabin  the political offense exception so  that

            perpetrators of  certain violent offenses  would be precluded

            from  avoiding  extradition  simply  because  their  criminal

            activity was  inspired by political motivation.   See Howard,
                                                              ___ ______

            996 F.2d at 1324-25.   Because this contraction of  the time-

            honored political  offense exception stirred up  a great deal

            of controversy during negotiations, a compromise position was

            ultimately  agreed  upon,  so  that  fugitives   barred  from

            invoking the political offense  defense might still claim the

            protection  of the more limited defense of article 3(a).  See
                                                                      ___

            id. at 1324 (discussing  negotiating history and  legislative
            ___

            history).  

                      Lui properly does not claim  that he is entitled to

            the   article  V(1)(c)  political  offense  exception.16  The

                                
            ____________________

            16.  Even if he had attempted to assert the political offense
            exception, he would likely have been unsuccessful since
            "[c]riminal conduct in the nature of financial
            fraud . . . traditionally has been considered outside the
            'political offense' exception."  Koskotas v. Roche, 931 F.2d
                                             ________    _____

                                         -29-
                                          29















            Supplementary Treaty article 3(a) defense  was unavailable to

            him, and thus, however  much article 3(a) might ever,  as the

            district court  stated, "require[]  the court to  examine the

            reasons for  the requesting sovereign's desire to  try and to

            punish the relator," Lui Habeas, --- F. Supp. at ---, 1997 WL
                                 __________

            37477, at *6, it certainly does not do so here.

                      Moreover,  article 3(a) allows the judicial officer

            to  make  only  a  narrowly  circumscribed  inquiry.    "[A]n

            extradition target  must establish by a  preponderance of the

            evidence that, if  he were surrendered,  the legal system  of

            the requesting country would treat him differently from other

            similarly situated individuals because of his race, religion,

            nationality,  or political  opinions."   Howard, 996  F.2d at
                                                     ______

            1331.   Lui made no  such showing of  discrimination, and the

            district court, in making its own predictions about the post-

            reversion justice  system in  Hong Kong, exceeded  the narrow

            inquiry permitted by article 3(a). 

            The Rule of Specialty
            _____________________

                      The   district   court   understood  the   Treaty's

            specialty provision  to signify that "the  Treaty allows only

            for extradition for  offenses that can be  tried and punished

            by the requesting sovereign."  Lui Habeas, --- F. Supp. at --
                                           __________

            -, 1997 WL 37477, at *6-*7.  Because the specialty obligation

            cannot  be enforced  by  the United  States after  reversion,

                                
            ____________________

            169, 172 (1st Cir. 1991) (citing cases).

                                         -30-
                                          30















            reasoned  the  district court,  article  XII  is violated  ab
                                                                       __

            initio, and Lui cannot be extradited.  Id. at *7.
            ______                                 ___

                      The rule of specialty literally has no  application

            here.   The rule has two basic requirements: that the relator

            be tried  for the crimes  charged in the  extradition warrant

            and that the relator not be re-extradited to another country.

            There is no claim that either of these is violated.   Indeed,

            as the district court properly recognized, Lui is not arguing

            that  the reversion  itself would  constitute a de  facto re-

            extradition  from  Hong Kong  to  China in  violation  of the

            specialty provision.  Lui  Habeas, --- F. Supp. at  ---, 1997
                                  ___________

            WL 37477, at *12 n.15; see also Oen Yin-Choy v. Robinson, 858
                                   ________ ____________    ________

            F.2d 1400, 1403-04 (9th Cir. 1988).

                      The essence of Lui's  argument is rather different:

            it is that  the fact that he cannot be  tried and punished by

            the   same  government  which   gave  the  Treaty  assurances

            contravenes the rationale behind the specialty provisions and

            so undermines confidence that  this is the result the  Senate

            intended  in  giving  its consent.    The  responses to  that

            argument  are largely those outlined at the beginning of this

            opinion.   We add only our thoughts directed to the specialty

            clause itself.

                      If Lui's position were correct,  the enforceability

            of  many extradition treaties to which the United States is a

            party would be thrown into grave doubt.  Regimes come and go,



                                         -31-
                                          31















            as, indeed, do  states.   Moreover, 18 U.S.C.    3184,  which

            defines  the role of  the courts in  the extradition process,

            gives  no discretion  to the  judicial officer  to refuse  to

            certify extraditability  on the ground that  a treaty partner

            cannot  assure  the requested  country  that  rights under  a

            treaty  will be enforced or protected.  See Saccocia, 58 F.3d
                                                    ___ ________

            at 766-67.

                      The Ninth Circuit, writing in 1988, also rejected a

            similar argument made by a fugitive who fought extradition by

            arguing that the United States would be unable to compel Hong

            Kong's  compliance  with  the  specialty  obligation because,

            although  he  would  face  trial in  the  Crown  Colony,  his

            imprisonment might extend past the reversion date.  "Were the

            Treaty to be interpreted  as [the fugitive] asks, extradition

            to  Hong Kong  would be  the exception  rather than  the rule

            because it would  be limited in practice only to extraditions

            for crimes which could be punished for a term expiring before

            the  reversion date."    Oen  Yin-Choy,  858  F.2d  at  1404.
                                     _____________

            Indeed,  if we  interpreted the  specialty provision  in this

            way,  we  would  be  forced  to  conclude  that  any  relator

            extradited from the United  States to Hong Kong at  any point

            since  the signing of the Joint Declaration, was, if he faced

            a term of imprisonment upon conviction that could conceivably

            extend  past  the date  of reversion,  sent  to Hong  Kong in

            violation of the Treaty.



                                         -32-
                                          32















                      Of course,  Lui may express his  concerns about the

            post-reversion  enforceability of specialty  to the Secretary

            of State, who, in her discretion, may choose not to surrender

            him.    We note  that the  newly  signed, as  yet unratified,

            extradition treaty  between the  United States and  the HKSAR

            provides that  specialty protection "shall apply  to fugitive

            offenders who have been surrendered between the parties prior

            to the  entry into  force" of  the new  treaty.  New  Treaty,

            arts.  16, 20.    It is  not  the role  of  the judiciary  to

            speculate about the  future ability of  the United States  to

            enforce treaty obligations.

                                         III.

                      Lui   also  challenges  the  determination  of  the

            magistrate  judge that  there was  probable cause  to believe

            that  Lui had  violated Hong Kong  law on  eight of  the nine

            charges in the warrant.  Although the district court declined

            to review this issue, we do reach it.

                      Lui  protests  that we  lack  power  to reach  this

            issue,  and that  we must  remand to  the district  court for

            further findings.   However, the issue was fully  briefed and

            argued  to the district court.  The record is complete.  This

            is  a habeas corpus appeal,  in which the  district court was

            not  the fact finder but had  only a review function over the

            findings  made by the magistrate  judge.  The  function to be

            exercised by  the district  court is  more akin to  appellate



                                         -33-
                                          33















            review,  and is  done  on the  same record  as is  before us.

            Under these circumstances, the  district court had no greater

            institutional competence to perform  this review task than do

            we.  That the district court declined to reach the issue does

            not deprive us of the power to do so.  

                      While it is true that, as a general matter, federal

            courts of appeals do  not rule on  issues not decided in  the

            district  court,  Singleton    v. Wulff,  428  U.S.  106, 120
                              _________       _____

            (1976), we do have  discretion to address issues not  reached

            by the district court when the  question is essentially legal

            and the record is complete.  Quinn v. Robinson, 783 F.2d 776,
                                         _____    ________

            814 (9th Cir. 1986); cf. Howard, 996 F.2d at  1329 ("That the
                                 ___ ______

            district court failed to afford plenary review on this aspect

            of  the  case  does  not mean  that  we  must  remand . . . .

            Rather, because the  question is  quintessentially legal  and

            this court  is  fully  capable of  deciding  it  without  any

            further development of the record, we can  simply address and

            resolve it.")  (citations omitted).   Such is the  case here.

            We have before us the parties' memoranda on probable cause to

            the  district court and the  magistrate judge as  well as the

            completed evidentiary record.   In the interest of conserving

            judicial resources and mindful of the policy that extradition

            matters  be  handled  expeditiously,  we see  no  reason  for







                                         -34-
                                          34















            further delay.17   Cf. Fernandez v.  Phillips, 268 U.S.  311,
                               ___ _________     ________

            312   (1925)   (Supreme   Court   reviews    probable   cause

            determination   of   judge  certifying   extradition  without

            intermediate court passing on the question).

                      The  traditional  formulation  is  that,  on habeas

            corpus  review of  a  certification  of extraditability,  the

            court only  examines  the magistrate judge's determination of

            probable cause to see  if there is "any evidence"  to support

            it.  Fernandez, 268 U.S. at  312; see also Sidali v. INS, ---
                 _________                    ___ ____ ______    ___

            F.3d  ---,  ---, 1997 WL  74506, *9 (3d  Cir. 1997); Then  v.
                                                                 ____

            Melendez, 92 F.3d 851, 854 (9th Cir. 1996).  This circuit has
            ________

            interpreted  the  "any  evidence" standard  quite  literally,

            conducting a  fairly deferential  review of  the magistrate's

            findings.  See Koskotas v. Roche, 931 F.2d 169, 176 (1st Cir.
                       ___ ________    _____

            1991); United  States v.  Manzi, 888  F.2d 204, 205 (1st Cir.
                   ______________     _____

            1989);  Brauch, 618 F.2d at  854; Greci v.  Birknes, 527 F.2d
                    ______                    _____     _______

            956 (1st Cir. 1976).

                      Recently,  some  other   appellate  courts,   while

            retaining  the  traditional   formulation,  have   apparently

                                
            ____________________

            17.  There is no unfairness to Lui.  He has had full
            opportunity to address the issue of whether there is probable
            cause for extradition before the magistrate judge and full
            opportunity to address the magistrate judge's determination
            before the district court.  In the extradition proceedings
            before the magistrate judge, Lui filed a 45 page memorandum
            on the probable cause issue accompanied by a copious
            appendix.  He also filed motions to exclude certain of the
            government's evidence, called witnesses, and presented both
            live testimony and testimony by affidavit.


                                         -35-
                                          35















            engaged in a more  rigorous review of the  evidence presented

            before the judicial officer, thus raising questions about the

            actual content  of the "any  evidence" standard.   See, e.g.,
                                                               ___  ____

            Sidali,   --- F.3d at ---,  1997 WL 74506, at  *9; Ludecke v.
            ______                                             _______

            Marshal,  15 F.3d  496,  497-98 (5th  Cir.  1994); Peters  v.
            _______                                            ______

            Egnor,  888 F.2d 713, 717-18  (10th Cir. 1989).   The Supreme
            _____

            Court  last addressed  the scope  of a  court's  authority on

            habeas corpus review of a finding of extraditability in 1925,

            when  it said that "the alleged fugitive from justice has had

            his hearing" and  that "habeas  corpus is  available only  to

            inquire"  into a very limited list of issues.  See Fernandez,
                                                           ___ _________

            268 U.S. at 312.   The existence of "any  evidence warranting

            the finding  that there was reasonable ground  to believe the

            accused  guilty"  was  one  of only  three  issues  that  the

            Fernandez court said might  permissibly be reached on habeas.
            _________

            Id.   At  that time, the scope of habeas corpus review of all
            ___                                                       ___

            proceedings was  very limited, and  Fernandez's strictures on
                                                _________

            review in extradition  proceedings, including the deferential

            "any evidence"  standard, may  simply reflect that  generally

            narrower  view of the  writ.  See In  re Extradition of Burt,
                                          ___ __________________________

            737 F.2d 1477, 1484 (7th Cir. 1984) ("[T]he broad language of

            Fernandez,  which on  its face would  appear to  restrict the
            _________

            scope of inquiry here,  must be construed 'in the  context of

            its  time and in the context of subsequent development of the

            scope  of habeas corpus review.'" (citation omitted)).  Since



                                         -36-
                                          36















            1925,  and until the enactment of the AEDPA in 1996,18 habeas

            corpus in  other contexts  has expanded to  become a  "second

            look" at most substantive  and procedural issues.  Similarly,

            courts  reviewing  certifications  of extraditability,  while

            continuing to cite Fernandez, have actually engaged in review
                               _________

            of issues  beyond those enumerated  by the  Supreme Court  in

            1925.  See  Kester, Some Myths  of United States  Extradition
                   ___          _________________________________________

            Law, 76  Geo. L.J.  1441, 1473  (1988); see  also 4 Abbell  &amp;
            ___                                     ___  ____

            Ristau,  supra,   13-3-6,  at 255-57.  Thus,  it is  arguable
                     _____

            that the "any evidence" standard is  an anachronism, and that

            this  court should engage in  a more searching  review of the

            magistrate's probable cause findings.

                      There is no reason to predict a resolution of  this

            issue  here.  Whatever the prism through which this record is

            reviewed, ranging from  a strictly  construed "any  evidence"

            standard to  de  novo  review, our  conclusion  is  that  the
                         __  ____

            government has met its burden.

                      The purpose  of  the  evidentiary  portion  of  the

            extradition  hearing  is  to  determine  whether  the  United

            States, on behalf of  the requesting government, has produced

            sufficient  evidence  to hold  the  person  for trial.    The

            standard of  sufficiency is  derived from United  States law,

            including the  Treaty between the  United States and  the UK.


                                
            ____________________

            18.   Antiterrorism and Effective Death Penalty Act
            ("AEDPA"), Pub. L. No. 104-132, 110 Stat. 1214 (1996)

                                         -37-
                                          37















            Under 18 U.S.C.    3184, the judicial officer  must determine

            whether the evidence of criminality is "sufficient to sustain

            the  charge under  the  provisions of  the  proper treaty  or

            convention."  The Treaty requires that:

                           Extradition shall be granted only if
                      the   evidence    be   found   sufficient
                      according  to the  law  of the  requested
                      Party . . . to justify  the committal for
                      trial of the person sought if the offense
                      of which he is accused had been committed
                      in the territory of the requested Party .
                      . . .

            Treaty, art.  IX(1).  "United States  courts have interpreted

            this provision in similar treaties as requiring a  showing by

            the requesting party  that there is probable cause to believe

            that the accused has committed the charged  offense."  Quinn,
                                                                   _____

            783 F.2d at 783  (separate opinion of Reinhardt, J.)  (citing

            cases).  The Supplementary Treaty defines probable cause:

                           Probable  cause means  whether there
                      is sufficient evidence  to warrant a  man
                      of  reasonable  caution  in   the  belief
                      that . . . an offense  has been committed
                      by the accused.

            Supplementary Treaty, art. 2.   The actual trial, if  any, is

            in  the foreign  court,  and it  is not  the  purpose of  the

            extradition  hearing to  determine  whether the  evidence  is

            sufficient  to justify conviction.   Thus it  is the probable

            cause determination which is subject to our review.

                      There is no  dispute that payments  of over HK  $21

            million (approximately US $3  million) and unsecured loans of

            HK $10 million  (approximately US $1.4 million)  were made to


                                         -38-
                                          38















            Lui, that the payments  were made into foreign  bank accounts

            in Lui's name, and  that the payments were not  made directly

            by check but  through a series of steps which  made them more

            difficult  to trace.    There is  also  no dispute  that  the

            payments  were  made on  the dates  charged.   The  timing is

            significant.  The payments  coincided with the knowledge that

            Lui was being  considered as Director  of Exports for  BAT-HK

            and with his  appointment to  that position in  1992.19   The

            loans  were  made  within three  days  of  Lui's  leaving his

            employment  at  Brown &amp;  Williamson and  BAT-HK.   It  is not

            contested that BAT-HK was the major supplier of cigarettes to

            GIL and WWC, that Brown  &amp; Williamson prohibits its employees

            from  accepting "inducements"  from those  with whom  it does

            business and requires disclosure  statements to be completed,

            and that Lui failed to disclose any of these payments  on his

            disclosure form.   The dispute between the government and Lui

            is basically over the purpose of these payments.

                      Two  competing theories  explaining the  purpose of

            the payments were  presented to  the magistrate  judge.   The

            government argued  that the  payments were bribes.   Although

            Lui  had no  burden to  produce any evidence  at all  and the

            burden  of  showing probable  cause  rested  entirely on  the

            government, Lui did present an  explanation for the loans and

                                
            ____________________

            19.  The one exception to this was the October 1988 payment
            alleged in Count II, as to which the magistrate judge found a
            lack of probable cause.

                                         -39-
                                          39















            payments,  primarily  in  the  affidavit  of  Hung  Wing  Wah

            ("Hung"),  a former GIL director and sole proprietor of GIL's

            subsidiary,  WWC.20  In essence, Hung said that, in or around

            1987, prior  to Lui's employment with Brown  &amp; Williamson, he

            and Lui  first began discussing "cigarette business matters."

            Hung  stated that  these  discussions eventually  led to  the

            establishment of a profitable  business relationship in which

            Hung  purchased  Japanese cigarettes  and  resold  them at  a

            profit for  the account of  Chen Ying-Jen ("Chen"),  a former

            GIL principal.  The  payments to Lui's foreign  bank accounts

            were filtered through Chen's account.

                      Hung stated  he was told  by Chen that,  because of

            the   substantial   profits   generated   by   the   business

            relationship Lui had been  instrumental in establishing, Chen

            had agreed to pay  Lui for his assistance and  would continue

            paying Lui as  long as the relationship continued to generate

            such substantial profits.  Hung indicated that  the sums paid

            to  Lui bore  a reasonable  relationship to the  magnitude of

            Chen's profits.  And finally, Hung  stated that the unsecured

            short term  loans  had been  made to  Lui so  that Lui  could

            invest  in the  then-booming Hong  Kong stock  market.   Hung


                                
            ____________________

            20.  Lui chose not to testify on his own behalf, as was his
            prerogative.  The magistrate judge properly excluded the
            polygraph evidence offered by Lui to corroborate his
            testimony.  The polygraph evidence was not relevant, there
            being no such testimony in evidence to corroborate.  Whether
            it would be admissible if he did testify, we do not address.

                                         -40-
                                          40















            stated  that  both the  principal  and  interest were  repaid

            shortly after the loans were made.  During the hearing before

            the magistrate judge, Lui's  counsel indicated that Lui would

            testify, and described  what that testimony  would be.   This

            description  matched  the  testimony  given  by  Hung.    Lui

            ultimately declined to testify.

                      Lui  argued  that  the  government's  evidence  was

            insufficient  to support  an  inference of  bribery and  that

            there  was,  in  any event,  an  innocent  explanation.   The

            government argued  that the undisputed  facts were sufficient

            to  establish probable  cause, and  that the  explanation was

            inherently implausible.   In addition, the government argued,

            it  had  two "smoking  gun"  statements  directly saying  the

            payments  were bribes.  We return to these two statements and

            Lui's attack on them later.

                      The magistrate judge concluded that the explanation

            proffered  by  Lui's  counsel  --  "to  the effect  that  the

            payments represented a gratuitous gesture of gratitude by one

            of   GIL's  former   principals  for   Lui's   assistance  in

            introducing him to a supplier of Japanese cigarettes in 1987,

            some six years  before the  last payments were  made" --  was

            inherently implausible.   Lui Extradition,   939 F. Supp.  at
                                      _______________

            955.21    The implausibility  of  the  explanation does  give

                                
            ____________________

            21.  The statement in the magistrate's opinion that Lui
            adduced only counsel's argument and not explanatory evidence,
            Lui Extradition, 939 F. Supp. at 955, is obviously an
            _______________

                                         -41-
                                          41















            credence to the  government's theory.   See United States  v.
                                                    ___ _____________

            Burgos, 94 F.3d  849, 867 (4th Cir. 1996)  (implausible tales
            ______

            to  the   finder  of  fact   can  rationally  be   viewed  as

            circumstantial  evidence of guilt).  Without consideration of

            the two  "smoking gun"  statements, the magistrate  judge was

            fully warranted in finding probable cause.

                      In addition,  the two statements, which  Lui argues

            were  inadmissible,  were properly  admitted at  the probable

            cause stage  of the extradition hearing and further support a

            finding of probable cause.

                      The  first  statement   was  given  to   Hong  Kong

            investigators  in July 1994 by Chui, one of Lui's alleged co-

            conspirators.   Chui was one  of the principals  of GIL until

            April 1993.   In his  statement, Chui implicated  himself and

            other principals  of GIL in a scheme  to bribe Lui and others

            to  secure favorable allocations  of cigarettes  from BAT-HK.

            According to Chui, GIL  began paying bribes to Lui  when they

            first   anticipated  that  Lui  might  eventually  become  an

            important  BAT-HK   decisionmaker.    Chui  was  murdered  in

            Singapore nine months after giving this statement.

                      The second  statement was made by  Francis McNamara

            Haddon-Cave, who worked with  Chui.  Haddon-Cave testified in

            Hong  Kong  in October  1995 at  a  hearing to  determine the

                                
            ____________________

            oversight.  Among other items, the Hung Wing Wah affidavit
            was admitted into evidence and considered by the magistrate
            judge.

                                         -42-
                                          42















            sufficiency of the  evidence to commit  one of Lui's  alleged

            co-conspirators  for trial on a charge of conspiracy to bribe

            Lui.  Haddon-Cave testified that he was hired by Chui to work

            as  a consultant for GIL  and began working  there in October

            1992.   One of  Haddon-Cave's responsibilities was  to foster

            relationships between  GIL and  major suppliers  like BAT-HK.

            Haddon-Cave testified  that Chui  told him in  Lui's presence

            that Lui  was "our man" and an important link with GIL.  Lui,

            then  BAT-HK's Director of Exports, did not deny it.  Haddon-

            Cave further testified that later, outside of Lui's presence,

            Chui  told him  that Lui  was "on  the take"  and had  become

            wealthy as a result of the payments that distributors made to

            him to secure favorable allocations of cigarettes.  

                      The  framework  for  determining  admissibility  of

            evidence  here is  determined  by the  Treaty  itself and  by

            United   States  legal   rules  governing   admissibility  in

            extradition proceedings.      Pursuant  to  federal  statute,

            documents offered as evidence in an extradition hearing:

                      shall   be   received  and   admitted  as
                      evidence  . . . for  all the  purposes of
                      such  hearing if  they shall  be properly
                      and  legally  authenticated   so  as   to
                      entitle them  to be received  for similar
                      purposes by the tribunals of  the foreign
                      country  from  which  the  accused  party
                      shall have escaped . . . .








                                         -43-
                                          43















            18  U.S.C.    3190.22   Proof of  such authentication  is the

            certificate  of the principal  diplomatic or consular officer

            of the United States  resident in such foreign country.   Id.
                                                                      ___

            Additionally, article VII(5) of  the Treaty provides that any

            evidence given upon oath or affirmation "shall be received in

            evidence in  any proceedings for  extradition" if it  is duly

            authenticated.   Treaty, art.  VII(5).  Both  the Haddon-Cave

            testimony  and  the  Chui  statement meet  this  authenticity

            requirement  and  were  thus  admissible  at the  extradition

            hearing by the terms of the relevant statute and treaties.

                      Lui argues nonetheless that the two statements were

            improperly  admitted because  they would  be  inadmissible at

            trial under  Hong Kong law.  Lui argues that it is inherently

            unfair to certify  that he  is extraditable on  the basis  of

            evidence that  would be inadmissible  in the  court where  he

            would  face trial.  He  also argues that  failure to consider

            the  Hong  Kong  High  Court's  declaratory  judgment  (later

            reversed) that the Chui statement would be inadmissible would

            evince great disrespect for the judicial system of Hong Kong.

            Both of these arguments are misplaced.



                                
            ____________________

            22.  Lui does not rely on the language of 18 U.S.C.   3190. 
            Most courts reviewing the language have concluded that   3190
            requires only that the evidence meet any authentication
            requirement imposed by a foreign tribunal, not that it be
            admissible, much less that it be admissible at trial.  See
                                                                   ___
            Oen Yin-Choy, 858 F.2d at 1406; Lui Extradition, 939 F. Supp.
            ____________                    _______________
            at 934 (citing cases).

                                         -44-
                                          44















                      In probable cause hearings under  American law, the

            evidence taken need not  meet the standards for admissibility

            at  trial.  Indeed, at a preliminary hearing in federal court

            a "finding of  probable cause  may be based  upon hearsay  in

            whole or in part."  Fed. R. Crim. P. 5.1(a).  This is because

            a "preliminary hearing  is not  a minitrial of  the issue  of

            guilt," Coleman v.  Burnett, 477 F.2d  1187, 1201 (D.C.  Cir.
                    _______     _______

            1973); rather,  "its  function is  the  more limited  one  of

            determining whether probable cause exists to hold the accused

            for trial."   Barber v. Page,  390 U.S. 719, 725  (1968).  An
                          ______    ____

            extradition   hearing   similarly   involves  a   preliminary

            examination of the evidence and is not a trial.   Charlton v.
                                                              ________

            Kelly,  229 U.S. 447, 461  (1913); Romeo v.  Roache, 820 F.2d
            _____                              _____     ______

            540,  544 (1st Cir. 1987).   An extradition  hearing does not

            require  a higher standard of evidence  than a probable cause

            hearing.    The special  and  limited  nature of  extradition

            hearings  is  manifested  in  a  more  lenient  standard  for

            admissibility  of evidence.    Neither the  Federal Rules  of

            Criminal Procedure, see  Fed. R. Crim.  P. 54(b)(5), nor  the
                                ___

            Federal  Rules of  Evidence,  see Fed.  R. Evid.  1101(d)(3),
                                          ___

            apply to extradition hearings.   The evidence may coU.S. 309,

            317 (1922).    So  American domestic law has already resolved

            against  Lui  any   claim  that  there  is   a  violation  of

            Constitutional rights from the admission of hearsay  evidence





                                         -45-
                                          45















            at  a probable cause hearing  which would not  be admitted at

            trial.

                      Under Hong Kong law, the Haddon-Cave statement  and

            the Chui statement present separate and distinct issues.  The

            Haddon-Cave statement was ruled inadmissible at the Hong Kong

            trial of Chong Tsoi-Jun ("Chong"), an alleged co-conspirator,

            on an objection that  it was not  made in furtherance of  the

            conspiracy.

                      As to  the Chui statement,  a Hong Kong  High Court

            judge   issued  a   declaration   that  the   statement   was

            inadmissible  hearsay.   On appeal,  the  Hong Kong  Court of

            Appeal vacated this ruling, finding  that Lui's request for a

            declaratory  judgment was  not justiciable  in the  Hong Kong

            courts, but  that even if it  were, the judge's grant  of the

            declaration  would be an abuse  of discretion.   The Court of

            Appeal reasoned that  the issue of  the admissibility of  the

            Chui statement in the extradition proceeding was a matter for

            the United States court to decide.  The court noted, however,

            that the  parties agreed that the  statement was inadmissible

            hearsay under  Hong  Kong law.   In  light of  the Hong  Kong

            court's  statement   that  the  admissibility  of   the  Chui

            statement in  the extradition  hearing  is a  matter for  the

            United  States court  to decide,  admission of  the statement

            into evidence  cannot be viewed as a sign of disrespect for a

            sister court.



                                         -46-
                                          46















                      The focus on admissibility is, we think, misplaced,

            both  based  on  these  facts and  on  larger,  institutional

            concerns about the operation  of habeas corpus in extradition

            certifications.   While in Manzi we  "recognized that serious
                                       _____

            due process concerns may merit review beyond the narrow scope

            of inquiry  in extradition proceedings," there  is no serious

            due process issue here.  See Manzi, 888 F.2d at 206; see also
                                     ___ _____                   ___ ____

            Koskotas,  931 F.2d  at  174; cf.  Burt,  737 F.2d  at  1481;
            ________                      ___  ____

            Gallina,  278 F.2d  at  78.    Lui's  liberty  interests  are
            _______

            protected  by  the very  existence  of  "an unbiased  hearing

            before an independent judiciary."   In re Kaine, 55  U.S. (14
                                                ___________

            How.) 103 (1852).  

                      Inherent  in the  probable  cause  standard is  the

            necessity  of  a  determination  that the  evidence  is  both

            sufficiently reliable and of sufficient weight to warrant the

            conclusion.    The  probable  cause standard  does  not  even

            require   that  the   government  make   its  showing   by  a

            preponderance of  the evidence.  But neither is it toothless.

            All evidence does not  have the same importance even if it is

            authentic and admissible.  For example, a confession obtained

            by duress is inherently unreliable  and would be given little

            weight even  if the confession were authenticated.   See Gill
                                                                 ___ ____

            v. Imundi, 747 F.  Supp. 1028, 1042-47 (S.D.N.Y. 1990).   The
               ______

            reliability of  the evidence is  a factor  for the  reviewing

            court   to  consider  as  well,  and  potentially  unreliable



                                         -47-
                                          47















            evidence  may  be  accorded  reduced  weight  by  the  court.

            Restatement, supra,   478.
            ___________  _____

                      No such  concerns about reliability  are implicated

            here.    First,   the  statements  themselves   were  neither

            involuntary  nor  obtained under  questionable circumstances.

            Further, the  Hong  Kong  courts  did not  rule  that  either

            statement  was   untrue  or  otherwise  cast   doubt  on  the

            statements'   credibility.     Each  statement   was  thought

            inadmissible in  Hong Kong on grounds  pertaining to hearsay.

            The Haddon-Cave statement was deemed inadmissible because  it

            did not meet one  of the requirements for admissibility  of a

            co-conspirator's statement.  The  Chui statement was  thought

            inadmissible because  the declarant was dead.   The Hong Kong

            government alleges  that Chui was involved  in the conspiracy

            until  he became a government informant  and witness and that

            he was murdered in order to prevent him from testifying.  GIL

            directors,  including  Hung  and  Chong,  allegedly  tried to

            dissuade  Chui from cooperating with  the ICAC.   We need not

            reach  the  issue of  whether the  statement of  a declarant,

            murdered  to keep him from testifying, might be admissible at

            a criminal trial in  the United States, cf. United  States v.
                                                    ___ ______________

            Houlihan,  92  F.3d  1271   (1st  Cir.  1996),  whatever  the
            ________

            consequence   of   these   facts   under   Hong   Kong   law.

            Nevertheless,  we note that the Chui  statement might well be

            admissible  under United  States law  as a  statement against



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            interest.  See Fed. R. Evid. 804(b)(3).  The magistrate judge
                       ___

            correctly ruled that the two statements were not unreliable.

                      One final  argument need not  detain us long.   Lui

            argues, from  his counsel's tactical decision  not to present

            his  testimony  at  the  extradition  hearing,  that  he  was

            precluded  from testifying.   He  argues that  the magistrate

            judge  drew an  unfavorable  inference, in  violation of  his

            Fifth  Amendment rights, from  his failure  to testify.   The

            argument  misapprehends what happened.   The magistrate judge

            did no such  thing.   Lui presented testimony  from Hung  and

            five  other   affiants,  as  well  as   argument  of  counsel

            attempting to explain the payments and loans.  The magistrate

            judge  disbelieved  the explanation,  as  it  was within  his

            discretion to do.  There is nothing in this objection.

                      For these  reasons we  reverse the grant  of habeas

            corpus  by the  district court.   We  continue in  effect the

            requirement that Lui be held without bail.  If Lui  wishes to

            file a petition for rehearing and/or a petition for rehearing

            en banc with  this court,  he must do  so within 14  calendar

            days.  See Fed.  R. App. P. 40(a) &amp;  35(c).  We stay,  in any
                   ___

            event, delivery  of the  certification of  extraditability to

            the  Secretary of State during this 14 calendar day period to

            permit  Lui to  seek relief  from the  United States  Supreme

            Court.

                      So ordered.



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